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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN, PETR AVEN, and
 GERMAN KHAN,

                Plaintiffs,
                                                          No. 1:17-cv-2041-RJL
        v.

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                Defendants.


                              DECLARATION OF JOSHUA A. LEVY

       I, Joshua A. Levy, declare as follows:

       1.      I am a member of the law firm Levy Firestone Muse LLP, counsel for Defendants

Bean LLC a/k/a Fusion GPS, and Glenn Simpson. I submit this Declaration in support of

Defendants’ Motion to Dismiss for Lack of Subject Matter Jurisdiction.

       2.      Attached hereto as Demonstrative Exhibit 1 is a summary document collecting all

claims and testimony from each plaintiff concerning the nature and extent of the injuries for which

they seek to recover.

       3.      Attached hereto as Exhibit A are true and correct copies of (1) regulations issued

by the European Union, Council Implementing Regulation (EU) 2022/336 (Feb. 28, 2022),

available at https://eur-lex.europa.eu/legal-content/EN/TXT/PDF/?uri=CELEX:32022R0336 (Ex.

A-1), (2) the article, Jacopo Barigazzi, EU to sanction Chelsea FC owner Roman Abramovich in

new oligarch package, Politico, Mar. 14, 2022, https://www.politico.eu/article/eu-sanctions-

chelsea-owner-roman-abramovich-oligarch-russia/ (Ex. A-2), (3) the UK Government Press

Release, Foreign Secretary announces historic round of sanctions, Mar. 15, 2022, available at
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https://www.gov.uk/government/news/foreign-secretary-announces-historic-round-of-sanctions-

15-march-2022 (Ex. A-3), and (4) regulations issued by the UK government, Office of Fin.

Sanctions Implementation HM Treasury, Consolidated List of Financial Sanctions Targets in the

UK (last updated Mar. 15, 2022), https://assets.publishing.service.gov.uk/government/

uploads/system/uploads/attachment_data/file/1060763/Russia.pdf (Ex. A-4).

        4.     Attached hereto as Exhibit B is a true and correct copy of Plaintiffs’ Amended

Complaint, dated December 12, 2017.

        5.     Attached hereto as Exhibit C is a true and correct copy of Plaintiffs’ Fourth

Supplemental Responses and Objections to Defendants’ First Set of Interrogatories, dated October

14, 2021.

        6.     Attached hereto as Exhibit D is a true and correct copy of a Plaintiffs’ Third Revised

Initial Disclosures, dated October 14, 2021.

        7.     Attached hereto as Exhibit E is a true and correct transcript of the deposition of Petr

Aven in this matter, held on December 9, 2020.

        8.     Attached hereto as Exhibit F is a true and correct transcript of the deposition of

Mikhail Fridman in this matter, held on November 17, 2020.

        9.     Attached hereto as Exhibit G is a compendium exhibit compiling, in chronological

order, various media coverage concerning Plaintiffs. This exhibit contains true and correct copies

of each of the articles listed in the index at the beginning of the exhibit.

        10.    Attached hereto as Exhibit H is a true and correct copy of Plaintiffs’ Third

Supplemental Responses and Objections to Defendants’ First Set of Interrogatories, dated June 21,

2021.




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       11.     Attached hereto as Exhibit I is a true and correct copy of Plaintiffs’ Second Revised

Initial Disclosures, dated June 21, 2021.

       12.     Attached hereto as Exhibit J is a true and correct excerpt of the transcript of the

deposition of David Kramer in this matter, held on September 24, 2020.

       13.     Attached hereto as Exhibit K are true and correct copies of emails exchanged

between Petr Aven to Anders Aslund, dated May 10, 2018 and May 24, 2018.

       14.     Attached hereto as Exhibit L are true and correct transcripts of Plaintiffs’ testimony

during their 2020 bench trial, Aven v. Orbis, QB-2018-6349, held on March 16, 2020 and March

17, 2020.

       15.     I declare under penalty of perjury that the foregoing is true and correct.


Executed on: March 15, 2022




                                                      __________________________
                                                           Joshua A. Levy




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